          Case: 20-15398, 09/29/2023, ID: 12801756, DktEntry: 141, Page 1 of 6




                  IN THE UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT


CITY AND COUNTY OF SAN FRANCISCO,

          Plaintiff-Appellee,

v.

XAVIER BECERRA, Secretary of U.S.                               No. 20-15398
Department of Health and Human Services; et
al.,1

          Defendants-Appellants.


COUNTY OF SANTA CLARA; et al.,

          Plaintiffs-Appellees,

v.
                                                                No. 20-15399
U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES; and XAVIER BECERRA,
in his official capacity as Secretary of Health and
Human Services,

          Defendants-Appellants.




      1
        Secretary Becerra has been automatically substituted for Acting Secretary
Norris Cochran pursuant to Federal Rule of Appellate Procedure 43(c)(2). Secretary
Becerra is recused from this litigation.
        Case: 20-15398, 09/29/2023, ID: 12801756, DktEntry: 141, Page 2 of 6




 STATE OF CALIFORNIA,

       Plaintiff-Appellee,

 v.                                                             No. 20-16045

 XAVIER BECERRA, in his official capacity as
 Secretary of the U.S Department of Health &
 Human Services, and U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES,

       Defendants-Appellants.


 STATE OF WASHINGTON,

       Plaintiff-Appellee,

 v.                                                             No. 20-35044

 XAVIER BECERRA and U.S. DEPARTMENT
 OF HEALTH AND HUMAN SERVICES,

       Defendants-Appellants.



             STATUS REPORT PURSUANT TO THE COURT’S
                      ORDER OF APRIL 6, 2023

      This case involves a challenge to a rule issued by the Department of Health and

Human Services (HHS). Two district courts in this Circuit vacated the rule in its

entirety, and the government appealed. As we have previously informed the Court,

HHS is conducting a new rulemaking proceeding involving the rule at issue in these

appeals. HHS has drafted a final rule, which it has submitted to the Office of


                                          2
        Case: 20-15398, 09/29/2023, ID: 12801756, DktEntry: 141, Page 3 of 6




Information and Regulatory Affairs (OIRA) within the Office of Management and

Budget for review and approval. Accordingly, the federal government respectfully

requests that this case continue to be held in abeyance, with the parties to file motions

to govern further proceedings at the end of six months, or 30 days after a final rule

issues, whichever is sooner. Counsel for the plaintiffs has indicated that the plaintiffs

do not oppose this request.

      1. These consolidated appeals concern the validity of a final rule that HHS

promulgated in 2019. The rule, entitled Protecting Statutory Conscience Rights in

Health Care, 84 Fed. Reg. 23,170 (May 21, 2019), implicates various federal statutes

that protect individuals and other entities with religious or moral objections to

providing certain health-care-related services in connection with government-

provided or government-funded health care programs. In these appeals, the federal

government sought review of decisions in which two district courts—one in the

Eastern District of Washington and one in the Northern District of California—

vacated the rule.

      2. After the consolidated appeals were fully briefed, the Court scheduled oral

argument for February 8, 2021. The parties to the appeals subsequently filed a joint

motion to remove the appeals from the oral argument calendar and place the appeals

in abeyance, explaining that HHS planned to reassess the issues that the cases present.

The Court granted the parties’ joint motion on January 29, 2021, removing the cases

from the February 8 argument calendar and directing the parties to “provide the
                                            3
        Case: 20-15398, 09/29/2023, ID: 12801756, DktEntry: 141, Page 4 of 6




Court within sixty days a status report as to whether the appeal will continue to be

prosecuted.”

      The federal government has filed periodic status reports pursuant to that order

and subsequent orders of the Court. In its most recent status report, filed on April 3,

2023, the government stated that HHS had received comments on a notice of

proposed rulemaking related to the rule at issue in these appeals and that it was in the

process of reviewing comments and preparing a final rule. The government requested

that the appeal be held in abeyance for six months, or until 30 days after a final rule

issued, whichever was sooner. This Court granted the request and directed in its April

6, 2023, order that the parties provide another report at the end of that period as to

the status of the rulemaking process.

      3. The period for public comment on the proposed rule closed on March 6,

2023. See 88 Fed. Reg. at 820. HHS has reviewed the tens of thousands of comments

that it received regarding the proposed rule and is proceeding with the requirements

for finalizing the rule. As part of that process, HHS has now submitted a draft final

rule to OIRA, a component of the Office of Management and Budget, for review and

approval. See OIRA, Office of Management and Budget, Reginfo.gov,




                                            4
           Case: 20-15398, 09/29/2023, ID: 12801756, DktEntry: 141, Page 5 of 6




https://www.reginfo.gov/public/do/eoDetails?rrid=335262.2 We will inform the

Court when the final rule is approved and published in the Federal Register.

       4. As the government previously explained, the instant rulemaking may moot

this matter and eliminate the need for this Court to resolve the merits of the appeals.

In these circumstances, the Court should continue to hold the case in abeyance while

HHS completes its rulemaking proceeding. See, e.g., Ohio Forestry Ass’n v. Sierra Club,

523 U.S. 726, 735-36 (1998) (“[F]rom the agency’s perspective, immediate judicial

review . . . could hinder agency efforts to refine its policies” and “interfere with the

system that Congress specified for the agency to reach forest logging decisions”);

American Petroleum Inst. v. EPA, 683 F.3d 382, 387-89 (D.C. Cir. 2012) (concluding that

judicial review should be deferred while an agency conducted a rulemaking

proceeding). Since the 2019 rule has been vacated in its entirety and nationwide,

moreover, deferring review would inflict no hardship on plaintiffs. See American

Petroleum, 683 F.3d at 389-90.

       5. We therefore respectfully ask that the appeals remain in abeyance for an

additional period of six months, or until 30 days after the issuance of a final rule,

whichever is sooner. We respectfully request that, at the end of that period, the

parties be permitted to file motions to govern further proceedings. Depending on the



       2
        OIRA is the entity responsible for coordinating interagency Executive Branch
review of regulations and ensuring compliance with Executive Order 12866. See
Executive Order 12866.
                                             5
        Case: 20-15398, 09/29/2023, ID: 12801756, DktEntry: 141, Page 6 of 6




status of the rulemaking process, the parties could seek to have the abeyance extended

for an additional period, to set a new briefing schedule, or otherwise to dispose of

these appeals.

                                               Respectfully submitted,

                                               MICHAEL RAAB
                                               LOWELL V. STURGILL JR.
                                               SARAH CARROLL

                                                /s/ Leif Overvold
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SEPTEMBER 2023




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